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               8                         IN THE UNITED STATES DISTRICT COURT

               9                           EASTERN DISTRICT OF CALIFORNIA

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              11    THOMAS N. SMITH,                            No.1:05-cv-01187-OWW-NEW (TAG)

              12           Plaintiff,                           (Related to Case No: 1:05-cv-
                                                                 01024-OWW-SMS (closed))
              13
                    vs.                                          ORDER DENYING APPLICATION
              14                                                 FOR ATTACHMENT

              15    DARRIN SIMMONS, individually and
                    d.b.a. CLEAN AIR PRODUCTS, and
              16    DOES 1 through 50, inclusive,

              17           Defendants.
              18

              19          On September 17, 2007, Plaintiff’s application for attachment came duly before the
              20   Court, the Honorable Oliver W. Wanger, United States District Judge Presiding. Appearing
              21   in support of the application was Plaintiff’s attorney, David M. Gilmore, Esq. Appearing in
              22   opposition to the application on behalf of Defendant was Leonard C. Herr, Esq.
              23   ///
              24   ///
              25   ///
              26   ///
              27   ///
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                                            ORDER DENYING APPLICATION FOR ATTACHMENT
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               1          After considering the pleadings in the case and the argument of counsel, for the

               2   reasons stated on the record and contained in the Court’s written order filed September 25,

               3   2007 (Doc. 71):

               4          IT IS HEREBY ORDERED that Plaintiff’s application for attachment is denied,

               5   without prejudice.

               6

               7   DATED: __October 5, 2007         /s/ OLIVER W. WANGER______________
                                     _________________________________________
               8                                    UNITED STATES DISTRICT JUDGE

               9
                   Approved as to form:
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                   Dated: ____________
              13          _________________________________________
                                                   David M. Gilmore, Esq.
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                                                                       ORDER DENYING APPLICATION FOR ATTACHMENT
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